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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION




   STEPHEN C. WASHINGTON
                                                         2:05-cv-160
                                                         2:97-cr-0099(4)
                  v.                                     JUDGE GRAHAM
                                                         MAGISTRATE JUDGE KING

   UNITED STATES OF AMERICA



                           REPORT AND RECOMMENDATION

          On May 15, 2006, this Court overruled petitioner’s objections to the Report and

   Recommendation, Doc. No. 755, and dismissed petitioner’s motion to vacate under 28

   U.S.C. § 2255. Opinion and Order, Doc. No. 761. This Court also declined to issue a

   certificate of appealability, Opinion and Order, Doc. No. 780, as did the United States

   Court of Appeals for the Sixth Circuit. See Doc. No. 812, Washington v. United States of

   America, Case No. 07-3027 (6th Cir. October 1, 2007). On October 12, 2011, petitioner’s

   motion to amend his motion to vacate was denied. Opinion and Order, Doc. No. 937.

   This matter is now before the Court on petitioner’s March 26, 2013 Motion to Recall

   Judgment Pursuant to Fed. R. Civ. P. 60(B)(6), Doc. No. 989 [“Motion for Relief from

   Judgment”].

          In his Motion for Relief from Judgment, petitioner asserts that the first claim of his

   original motion to vacate – i.e., denial of the effective assistance of counsel by failing to

   move for a judgment of acquittal on Count 23 - mistakenly referred to Count 23 when it

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   should have referred to Count 27 of the Superseding Indictment. The Court addressed

   this claim as expressly formulated by petitioner. See Report and Recommendation, Doc.

   No. 755, pp. 11 – 13. Because his first claim, had it been properly formulated, was never

   properly considered, petitioner now argues that “the judgment should be recalled and the

   petitioner should be allowed to litigate the issue raised . . . .” Motion for Relief from

   Judgment, p. 5.

          A true Rule 60(b) motion does not attack “the substance of the federal court’s

   resolution of a claim on the merits, but some defect in the integrity of the federal habeas

   proceedings.” Gonzales v. Crosby, 545 U.S. 524, 532 (2005). Where “[a] Rule 60(b)

   motion . . . attempts ‘to add a new ground for relief ‘[it] is effectively a motion to vacate,

   set aside, or correct the sentence, and thus should be considered a § 2255 motion.” In re

   Nailor, 487 F.3d 1018, 1022 (6th Cir. 2007) (citing Gonzales, 545 U.S. at 532). A Rule

   60(b) motion that attacks the resolution of a former claim on the merits will also be

   considered a § 2255 petition. Id. at 1023. A successive petition to vacate that is simply

   labeled a Rule 60(b) motion must be transferred to the Court of Appeals. 28 U.S.C. §

   2244(h); 28 U.S.C. § 1631; see In re Sims, 111 F.3d 45, 47 (6th Cir. 1997).

          The Motion for Relief from Judgment seeks to assert a claim not previously raised

   in petitioner’s motion to vacate. Therefore, the current motion is effectively a successive

   petition under § 2255 regardless of the label given the motion by petitioner. This Court

   lacks authority to consider petitioner’s motion absent authorization by the United States

   Court of Appeals for the Sixth Circuit.

          It is therefore RECOMMENDED that the Motion for Relief from Judgment be

   TRANSFERRED to the United States Court of Appeals for the Sixth Circuit as a



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   successive motion to vacate under 28 U.S.C. § 2255.

            If any party seeks review by the District Judge of this Report and

   Recommendation, that party may, within fourteen (14) days, file and serve on all parties

   objections to the Report and Recommendation, specifically designating this Report and

   Recommendation, and the part thereof in question, as well as the basis for objection

   thereto. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). Response to objections must be

   filed within fourteen (14) days after being served with a copy thereof. Fed. R. Civ. P.

   72(b).

            The parties are specifically advised that failure to object to the Report and

   Recommendation will result in a waiver of the right to de novo review by the District

   Judge and of the right to appeal the decision of the District Court adopting the Report and

   Recommendation. See Thomas v. Arn, 474 U.S. 140 (1985); Smith v. Detroit Fed’n of

   Teachers, Local 231 etc., 829 F.2d 1370 (6th Cir. 1987); United States v. Walters, 638

   F.2d 947 (6th Cir. 1981).



                                                        s/ Norah McCann King
                                                      Norah McCann King
                                                      United States Magistrate Judge

   March 28, 2013




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